                                  Case 18-12634-LSS                  Doc 1        Filed 11/19/18           Page 1 of 23

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                DB Investors, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA CDR DB Investors, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1001 Washington Street
                                  Conshohocken, PA 19428-2356
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.davidsbridal.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 18-12634-LSS                 Doc 1         Filed 11/19/18              Page 2 of 23
Debtor    DB Investors, Inc.                                                                            Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4481

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.

                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                Case 18-12634-LSS                      Doc 1      Filed 11/19/18             Page 3 of 23
Debtor   DB Investors, Inc.                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 18-12634-LSS                   Doc 1        Filed 11/19/18             Page 4 of 23
Debtor    DB Investors, Inc.                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       11/19/2018
                                                  MM / DD / YYYY


                             X     /s/ Joan Hilson                                                        Joan Hilson
                                 Signature of authorized representative of debtor                         Printed name

                                         Executive Vice President and
                                 Title   Chief Financial and Operating Officer




18. Signature of attorney    X     /s/ Edmon L. Morton                                                     Date    11/19/2018
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Edmon L. Morton
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 North King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address


                                 3856, Delaware
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                  Case 18-12634-LSS                Doc 1       Filed 11/19/18            Page 5 of 23
Debtor     DB Investors, Inc.                                                               Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     David's Bridal, Inc.                                                    Relationship to you               Affiliate
District   District of Delaware                       When                         Case number, if known             Pending
Debtor     DB Holdco, Inc.                                                         Relationship to you               Affiliate
District   District of Delaware                       When                         Case number, if known             Pending
Debtor     DB Midco, Inc.                                                          Relationship to you               Affiliate
District   District of Delaware                       When                         Case number, if known             Pending




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 5
               Case 18-12634-LSS         Doc 1     Filed 11/19/18    Page 6 of 23



                        CERTIFICATE OF CORPORATE OFFICER

                                       November 18, 2018

       I, Joan Hilson, being a duly elected and authorized officer, as set forth on Exhibit A
hereto, of each of the following (each a “Company” and, collectively, the “Companies”):

      A.      David’s Bridal, Inc., a Florida corporation;

      B.      DB Investors, Inc., a Delaware corporation;

      C.      DB Holdco, Inc., a Delaware corporation; and

      D.      DB Midco, Inc., a Delaware corporation

hereby certify as follows:

      (i)     I am a duly qualified and elected officer of each of the Companies and, as such, I
              am familiar with the facts herein certified and I am duly authorized to certify the
              same on behalf of the Companies;

      (ii)    Attached hereto is a true, correct and complete copy of the joint resolutions of the
              board of directors of each of the Companies, duly adopted and approved on
              November 18, 2018, in accordance with each Company's corporate organizational
              documents; and

      (iii)   Such resolutions have not been amended, altered, annulled, rescinded, modified or
              revoked since their adoption and remain in full force and effect as of the date
              hereof. There exist no subsequent resolutions relating to the matter set forth in the
              resolutions attached hereto.
             Case 18-12634-LSS      Doc 1    Filed 11/19/18   Page 7 of 23



             IN WITNESS WHEREOF, the undersigned has executed this certificate as of the
18th day of November, 2018.



                                        /s/ Joan Hilson________________________
                                        Name: Joan Hilson
               Case 18-12634-LSS   Doc 1   Filed 11/19/18   Page 8 of 23



                                    EXHIBIT A



                     ENTITY                                POSITION
                                           Executive Vice President and Chief Financial
David’s Bridal, Inc.                       and Operating Officer
                                           Executive Vice President and Chief Financial
DB Investors, Inc.                         and Operating Officer
                                           Executive Vice President and Chief Financial
DB Holdco, Inc.                            and Operating Officer
                                           Executive Vice President and Chief Financial
DB Midco, Inc.                             and Operating Officer
              Case 18-12634-LSS          Doc 1     Filed 11/19/18     Page 9 of 23



            JOINT RESOLUTIONS OF THE BOARDS OF DIRECTORS OF
                           DB INVESTORS, INC.,
                            DB HOLDCO, INC.,
                           DB MIDCO, INC. AND
                          DAVID’S BRIDAL, INC.

                                       November 18, 2018

        A joint meeting of the Boards of Directors (collectively, the “Board”) of DB Investors,
Inc. (“Investors”), DB Holdco, Inc. (“Holdco”), DB Midco, Inc. (“Midco”) and David’s Bridal,
Inc. (“David’s Bridal” and, collectively with Investors, Holdco and Midco, the “Company”)
was held telephonically on November 18, 2018, starting at approximately 10:30 a.m. NY time.
All participants could hear and be heard by the other participants.

Board Members of Investors and Holdco in attendance were: Paul Pressler, Ken Giuriceo and
Michael Kirton.

Board Members of Midco and David’s Bridal in attendance were: Paul Pressler, Ken Giuriceo,
Michael Kirton, Scott Key and Neal Goldman.

Upon a motion duly made and seconded, and acting pursuant to each of the Companies’
respective organizational documents, the members of the Board took the following actions and
adopted the following resolutions:

               WHEREAS, the Board has reviewed the materials presented by the
       management and the advisors of the Company regarding the liabilities and
       liquidity situation of the Company, the strategic alternatives available to it and the
       impact of the foregoing on the Company’s business;

               WHEREAS, the Board has had the opportunity to consult with the
       management and the advisors of the Company and fully consider each of the
       strategic alternatives available to the Company;

              WHEREAS, in accordance with prior approval of the Board, the
       Company will be entering into a restructuring support agreement (the “RSA”),
       dated as of November 18, 2018;

               WHEREAS, the Board has determined that, in furtherance of the RSA
       and assuming execution of the RSA, it is desirable and in the best interests of the
       Company and its respective creditors, equity holders, employees and other
       parties-in-interest that the Company, in accordance with the RSA, commence
       solicitation (“Solicitation”) of votes to obtain acceptances of a joint prepackaged
       plan of reorganization (the “Prepackaged Plan”) to effectuate the restructuring
       under the RSA and thereafter file a case under chapter 11 of title 11 of the United
       States Code (the “Bankruptcy Code”) to pursue confirmation of the Prepackaged
       Plan;
              Case 18-12634-LSS         Doc 1    Filed 11/19/18      Page 10 of 23



               WHEREAS, in the judgment of the Board, a restructuring of the
       Company to be accomplished through the Prepackaged Plan under chapter 11 of
       the Bankruptcy Code and the other transactions identified in the RSA are in the
       best interest of the Company and its creditors;

       NOW, in each case assuming execution of the RSA, it is hereby:

Solicitation of Prepackaged Plan and Filing of Chapter 11 Petition

               RESOLVED, that in the judgment of the Board, it is desirable and in the
       best interests of the Company, its creditors, and other parties in interest, that the
       Company (i) commence Solicitation and (ii) thereafter file or cause to be filed
       voluntary petitions for relief under the provisions of chapter 11 of the Bankruptcy
       Code;

                RESOLVED, that each of the officers of the Company (the “Authorized
       Officers”), acting alone or with one or more other Authorized Officers be, and
       they hereby are, authorized and empowered to execute and file on behalf of the
       Company all petitions, schedules, lists and other motions, papers or documents,
       and to take any and all action that they deem necessary or proper to obtain such
       relief, including any action necessary to maintain the ordinary course operation of
       the Company’s business;

Debtor-in-Possession Financing

                RESOLVED, that in connection with the commencement of the chapter
       11 cases, the Authorized Officers be, and hereby are, authorized, empowered and
       directed, in the name and on behalf of the Company to negotiate the use of cash
       collateral and to negotiate, execute and deliver the debtor-in-possession loan
       facilities as provided in the RSA (including the DIP ABL Documents and the DIP
       Term Loan Documents (each as defined in the RSA)), to the extent applicable, on
       the terms and conditions such Authorized Officers executing the same may
       consider necessary, proper or desirable, and to take such additional action and to
       execute and deliver each other agreement, instrument or document and future
       amendments, restatements, modifications or other supplements to any of the
       foregoing, to be executed and delivered, in the name and on behalf of the
       Company, pursuant thereto or in connection therewith, all with such changes
       therein and additions thereto as any Authorized Officer approves, such approval
       to be conclusively evidenced by the taking of such action or by the execution and
       delivery thereof;

              RESOLVED, that the Company be, and it hereby is, authorized to
       guarantee the obligations of the Borrowers pursuant to the DIP ABL Documents
       and the DIP Term Loan Documents;

             RESOLVED, that the Company be, and it hereby is, authorized to secure
       payment of the loans or other extensions of credit made under the DIP ABL
       Documents and the DIP Term Loan Documents, interest thereon, and fees and
              Case 18-12634-LSS         Doc 1    Filed 11/19/18     Page 11 of 23



       expenses related thereto, and payment and performance of all other obligations
       and liabilities of the Company and its direct or indirect subsidiaries arising under,
       out of, or in connection with, the DIP ABL Documents and the DIP Term Loan
       Documents by pledging and granting to Bank of America, N.A., as agent under
       the DIP ABL Documents, for the benefit of the DIP ABL Lenders, and Cantor
       Fitzgerald Securities, as agent under the DIP Term Loan Documents, for the DIP
       Term Lenders, a lien or mortgage on or security interest in, all or any portion of
       the Company’s assets;

Retention of Professionals

               RESOLVED, that the Authorized Officers be, and they hereby are,
       authorized and directed to employ the law firm of Debevoise & Plimpton LLP as
       general bankruptcy counsel to represent and assist the Company in carrying out its
       duties under the Bankruptcy Code and to take any and all actions to advance the
       Company’s rights and obligations;

               RESOLVED, that the Authorized Officers be, and they hereby are,
       authorized and directed to employ the law firm of Young Conaway Stargatt &
       Taylor LLP as Delaware bankruptcy and conflicts counsel to represent and assist
       the Company in carrying out its duties under the Bankruptcy Code and to take any
       and all actions to advance the Company’s rights and obligations;

              RESOLVED, that the Authorized Officers be, and they hereby are,
       authorized and directed to employ the firm of Evercore Group L.L.C. as
       investment banker to represent and assist the Company in carrying out its duties
       under the Bankruptcy Code and to take any and all actions to advance the
       Company’s rights and obligations;

              RESOLVED, that the Authorized Officers be, and they hereby are,
       authorized and directed to employ the firm of AlixPartners, LLP as restructuring
       advisors to represent and assist the Company in carrying out its duties under the
       Bankruptcy Code and to take any and all actions to advance the Company’s rights
       and obligations;

              RESOLVED, that the Authorized Officers be, and they hereby are,
       authorized and directed to employ the firm of Donlin, Recano & Company, Inc.
       (“DRC”) as administrative advisor to represent and assist the Company in
       carrying out its duties under the Bankruptcy Code and to take any and all actions
       to advance the Company’s rights and obligations, and to retain DRC as claims and
       noticing agent in accordance with 28 U.S.C. § 156(c) and Del. Bankr. L.R. 2002-
       1(f);

              RESOLVED, that the Authorized Officers be, and they hereby are,
       authorized and directed to employ the firm of KPMG LLP as independent
       auditors and accountants to represent and assist the Company in carrying out its
              Case 18-12634-LSS         Doc 1     Filed 11/19/18     Page 12 of 23



       duties under the Bankruptcy Code and to take any and all actions to advance the
       Company’s rights and obligations;

               RESOLVED, that the Authorized Officers be, and they hereby are,
       authorized and directed to employ any other professionals to assist the Company
       in carrying out its duties under the Bankruptcy Code and to take any and all
       actions to advance the Company’s rights and obligations; and

               RESOLVED, that the Authorized Officers are hereby authorized and
       directed to execute appropriate retention agreements, pay appropriate retainers
       and cause to be filed appropriate applications for authority to retain the services of
       the foregoing professionals as necessary;

Further Actions and Prior Actions

               RESOLVED, that in addition to the specific authorizations heretofore
       conferred upon the Authorized Officers, each of the officers of the Company or
       their designees shall be, and each of them, acting alone, hereby is, authorized,
       directed and empowered in the name of, and on behalf of, the Company, to take or
       cause to be taken any and all such further actions, to execute and deliver any and
       all such agreements, certificates, instruments and other documents and future
       amendments, restatements, modifications or other supplements to any of the
       foregoing and to pay all expenses, including filing fees, in each case as in such
       officer or officers’ judgment shall be necessary or desirable to fully carry out the
       intent and accomplish the purposes of the Resolutions adopted herein;

              RESOLVED, that all acts, actions and transactions relating to the matters
       contemplated by the foregoing Resolutions done in the name of and on behalf of
       the Company, which acts would have been approved by the foregoing Resolutions
       except that such acts were taken before these resolutions were certified, are
       hereby in all respects approved and ratified; and

              RESOLVED, that a copy of these resolutions of the Board shall be filed
       with the minutes of the proceedings of the Board.
                           Case 18-12634-LSS          Doc 1       Filed 11/19/18          Page 13 of 23



                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


    In re:                                                                            Chapter 11

    DAVID’S BRIDAL, INC., et al.,1                                                    Case No. 18-_____ (___)

                                           Debtors.                                   Joint Administration Requested


                                CONSOLIDATED LIST OF CREDITORS HOLDING
                                   THE 30 LARGEST UNSECURED CLAIMS
            David’s Bridal, Inc. and certain of its affiliates, as debtors and debtors in possession
    (collectively, the “Debtors”), each filed a voluntary petition for relief under chapter 11 of title 11 of
    the United States Code (the “Bankruptcy Code”). The following is the consolidated list of the
    Debtors’ creditors holding the 30 largest unsecured claims (the “Consolidated Top 30 List”) based on
    the Debtors’ books and records as of November 17, 2018. The Consolidated Top 30 List is prepared in
    accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in these chapter
    11 cases. The Consolidated Top 30 List does not include (1) persons who come within the definition
    of “insider” set forth in 11 U.S.C. § 101 or (2) secured creditors unless the value of the collateral is
    such that the unsecured deficiency places the creditor among the holders of the 30 largest unsecured
    claims on a consolidated basis. None of these creditors is a minor child. The information contained
    herein shall not constitute an admission of liability by, nor is it binding on, the Debtors. The
    information herein, including the failure of the Debtors to list any claim as contingent, unliquidated or
    disputed, does not constitute a waiver of the Debtors’ right to contest the validity, priority or amount of
    any claim at any later point as they deem appropriate.

                                                                                                              Contingent,
                                                                                                             unliquidated,
                                                         Contact, Mailing Address, Telephone   Nature of
        Name of Creditor               Address                                                                disputed, or      Amount
                                                           Number/Fax Number, & Email           claim
                                                                                                             subject to set
                                                                                                                  off

                                                                                                 7.75%
                                                        Joseph P. O'Donnell                    Senior Note
    Wilmington Trust,
                            246 Goose Ln., Ste. 105     T: 203-453-4130                         Due 2020,
1   National Association                                                                                                      $270,000,000
                            Guilford, CT 06437          jodonnell@wilmingtontrust.com          dated as of
    as Trustee
                                                        F: 203-453-1183                        October 11,
                                                                                                  2012




    1    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
         David’s Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc. (3096). The
         location of the Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken, Pennsylvania 19428.
                          Case 18-12634-LSS               Doc 1      Filed 11/19/18          Page 14 of 23




                                                                                                                 Contingent,
                                                                                                                unliquidated,
                                                            Contact, Mailing Address, Telephone   Nature of
       Name of Creditor               Address                                                                    disputed, or    Amount
                                                              Number/Fax Number, & Email           claim
                                                                                                                subject to set
                                                                                                                     off


                           Law Offices of Kyle Todd        Kyle Todd
     California Wage &
                           611 Wilshire Boulevard,         T: (323) 208-9171                       Litigation
2    Hour Class Action,                                                                                               C          $1,350,000
                           Ste. 1000                       kyle@kyletodd.com                      Settlement
     Irene Martinez
                           Los Angeles, CA 90017-2906      F: (323) 693-0822


                                                           Karen Schneider
                           1400 Broadway                   T: (212) 354-9670                        Trade
3    Ignite                                                                                                                       $791,500
                           New York, NY 10018              info@slfashions.com                     Vendor
                                                           F: (212) 730-6462


                                                           Celia Bonifaz
     Alex Apparel Group    575 8th Ave.                    T: (212) 730-1533                        Trade
4                                                                                                                                 $733,038
     Inc.                  New York, NY 10018              info@alexevenings.com                   Vendor
                                                           F: (212) 730-6462



                           Onyx Nite/Marina                Jeff Zheng
                                                                                                    Trade
5    Jump Design Group     1400 Broadway, Flr. 2           T: (201) 558-9191                                                      $532,389
                                                                                                   Vendor
                           New York, NY 10018              jeffz@jumpdesigngroup.com



                                                           Eva Carrie
                           16425 E. Gale Ave.              T: (626) 961-7928                        Trade
6    Swat Fame Inc.                                                                                                               $512,389
                           City Of Industry, CA 91789      ecarrie@swatfame.com                    Vendor
                                                           F: (626) 961-5300


                                                           Connie Chee
     Blossom Footwear      18120 Rowland St.               T: (626) 581-8837                        Trade
7                                                                                                                                 $360,385
     Inc.                  City of Industry, CA 91789      techie@blossomfootwear.com              Vendor
                                                           F: (626) 581-8832


                                                           Michael Hernoff
     Dayleen Intimates,    540 Nepperhan Ave.                                                       Trade
8                                                          T: (914) 969-5900                                                      $282,827
     Inc.                  Yonkers, NY 10701                                                       Vendor
                                                           mchernoff@dayleen.com


                                                           Amy Loftus
                           821 2nd Ave., Ste. 1900         T: (215) 861-6040                        Trade
9    Slalom Consulting                                                                                                            $225,800
                           Seattle, WA 98104               billing@slalom.com                      Vendor
                                                           F: (206) 438-5686


                           Attn: Accounts Receivable
                                                           T: (833) 272-0777                        Trade
10   Facebook Inc.         15161 Collections Center Dr.                                                                           $169,914
                                                           legal@facebook.com                      Vendor
                           Chicago, IL 60693




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                               Case 18-12634-LSS              Doc 1      Filed 11/19/18          Page 15 of 23




                                                                                                                    Contingent,
                                                                                                                   unliquidated,
                                                                Contact, Mailing Address, Telephone    Nature of
       Name of Creditor                    Address                                                                  disputed, or    Amount
                                                                  Number/Fax Number, & Email            claim
                                                                                                                   subject to set
                                                                                                                        off


                                                               Shelley Harlow
     Visionary Financial        P.O. Box 460                   T: (770) 965-6231                         Trade
11                                                                                                                                   $157,714
     Solutions                  Braselton, GA 30517            sdodge@nextfinancial.com                 Vendor
                                                               F: (972) 539-8889


                                                               Ruchard A. Koch
     UPS – United Parcel        P.O. Box 7247-0244             T: (215) 389-9993                         Trade
12                                                                                                                                   $155,119
     Service                    Philadelphia, PA 19170-0001    customerrelations@ups.com                Vendor
                                                               F: (800) 742-8477



                                                               Elizabeth Boudreaux
     Jodi Kristopher / City     1950 Naomi Ave                 T : (323) 890-8000                        Trade
13                                                                                                                                   $143,246
     Triangle                   Los Angeles , CA 90011         elizabeth.boudreaux@citytriangles.com    Vendor
                                                               F : (213) 222-2761



                                                               Tom Domski
                                315 Ushers Rd.                                                           Trade
14   Unique Structures LLC                                     T : (518) 877-0717                                                    $132,782
                                Ballston Lake, NY 12019                                                 Vendor
                                                               tom@usny.biz



                                                               Jerry Horn
     Jerry Horn                 1755 Locust Rd.                T: (412) 741-8585                         Trade
15                                                                                                                                   $121,122
     Construction Inc.          Sweickley, PA 15143            info@Jerryhornconstruction.com           Vendor
                                                               F: (412) 741-8572



                                                               Connie Breece
                                P.O. Box 402337                T : (973) 994-1685                        Trade
16   Bunzl Retail                                                                                                                    $115,860
                                Atlanta, GA 30384-2337         conniebreece@bunzlusa.com                Vendor
                                                               F : 44 16 1743 2233


                                                               Classical Carson
     G-III Leather Fashiions    P.O. Box 29242                 T: (212) 403-0500                         Trade
17                                                                                                                                   $111,171
     Inc.                       New York, NY 10087-9242        ccarson@g-iii.com                        Vendor
                                                               F: (212) 719-0921


                                                               Eliza Furtwaengler
                                P.O. Box 4886                  T: (617) 621-0200                         Trade
18   Sapient Corporation                                                                                                              $93,820
                                Boston, MA 02241               ksrivastava@sapient.com                  Vendor
                                                               F: (617) 621-1300


                                                               Paul Levitt
     Bridal Veil Company        235 St. Marks Ave.             T : (888) 403-5255                        Trade
19                                                                                                                                    $90,990
     Inc.                       Brooklyn, NY 11238             paul@marionat.com                        Vendor
                                                               F : (718) 623-1829




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                           Case 18-12634-LSS              Doc 1      Filed 11/19/18          Page 16 of 23




                                                                                                               Contingent,
                                                                                                              unliquidated,
                                                            Contact, Mailing Address, Telephone   Nature of
       Name of Creditor                 Address                                                                disputed, or    Amount
                                                              Number/Fax Number, & Email           claim
                                                                                                              subject to set
                                                                                                                   off



                                                           Danielle Ruggierio
     Weber Display &        P.O. Box 536136                T: (215) 426-3500                        Trade
20                                                                                                                               $90,104
     Packaging              Pittsburgh, PA 15253-5903      druggierio@weberdisplay-pkg.com         Vendor
                                                           F: (215) 426-3500



                                                           Edwin G. Parcher
                            P.O. Box 772830                T: (866) 376-5942                        Trade
21   Ceridian                                                                                                                    $74,121
                            Chicago, IL 60677              trust@ceridian.ca                       Vendor
                                                           F: 952-853-5300


                                                           Rachel Fonseca
                            P.O. Box 643600                T: (877) 426-6006                        Trade
22   IBM Global Services                                                                                                         $67,024
                            Pittsburgh, PA 15264-3600      rachelf@us.ibm.com                      Vendor
                                                           F: (845) 432-0662


                                                           Mark Sandahl
                            P.O. Box 203141                T: (317) 524-1781                        Trade
23   Salesforce.com Inc.                                                                                                         $66,514
                            Dallas, TX 75320-3141          rbell@salesforce.com                    Vendor
                                                           F: (415) 901 7040


                                                           Gerald G. Genuh
                            1435 51st St.                                                           Trade
24   Bliss Designs Inc.                                    T: (201) 420-3873                                                     $65,400
                            North Bergen, NJ 07047                                                 Vendor
                                                           sales@AnsoniaBridal.com


                                                           Mark Bartig
     Connectria             10845 Olive Blvd., Ste. 300    T: (314) 587-7000                        Trade
25                                                                                                                               $59,933
     Corporation            Creve Coeur, MO 63141          info@connectria.com                     Vendor
                                                           F: (314) 587-7090



                                                           Gokaran Singh
     Natasha Accessories    7W 36th St., Flr. 2            T: (212) 643-2525                        Trade
26                                                                                                                               $59,169
     Ltd.                   New York, NY 10018             tasha@natashaaccessoriesltd.com         Vendor
                                                           F: (212) 643-3022



                            3344 Peachtree Rd. NE          T: (866) 326-9996                        Trade
27   Spanx Inc.                                                                                                                  $55,829
                            Atlanta, GA 30326              acctservices@spanx.com                  Vendor


                                                           Justin Campos
     OptumRX PBM of IL      1600 McConnor Parkway                                                   Trade
28                                                         T : (949) 252-4363                                                    $52,531
     Inc.                   Schaumburg, IL 60173                                                   Vendor
                                                           privacy@optum.com




                                                                    4
                           Case 18-12634-LSS              Doc 1      Filed 11/19/18          Page 17 of 23




                                                                                                               Contingent,
                                                                                                              unliquidated,
                                                            Contact, Mailing Address, Telephone   Nature of
       Name of Creditor                Address                                                                 disputed, or    Amount
                                                              Number/Fax Number, & Email           claim
                                                                                                              subject to set
                                                                                                                   off


                                                           Carey-Ann Valladares
                            45 Centre Rd.                  T : (800) 621-0029                       Trade
29   Benjamin Walk Corp.                                                                                                         $47,532
                            Somersworth, NH 03878          carey@benjamin-walk.com                 Vendor
                                                           F : (603) 548-7928


                                                           Jie Yang
                            117 N. Market St., Ste. 300    T: (302) 778-1300                        Trade
30   Trellist Inc.                                                                                                               $45,618
                            Wilmington, DE 19801           jyang@trellist.com                      Vendor
                                                           F: (302) 778-1301




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                 Case 18-12634-LSS             Doc 1      Filed 11/19/18        Page 18 of 23



                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                      Chapter 11

DAVID’S BRIDAL, INC., et al., 1                                             Case No. 18-_____ (___)

                                    Debtors.                                Joint Administration Requested


    DEBTORS’ CONSOLIDATED OWNERSHIP STATEMENT PURSUANT TO RULES
    1007(a)(1) AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the above-captioned debtors and debtors in possession (each, a “Debtor,” and collectively, the

“Debtors”) hereby state, as follows:

         1.       Debtor DB Investors, Inc. (“DB Investors”) owns, either directly or indirectly,

100% of the outstanding equity interests in each of the other Debtors.

         2.       The following entities hold 10% or more of the equity interests in DB Investors,

as set forth more fully in the List of Equity Security Holders filed with the DB Investors

voluntary chapter 11 petition: (a) Clayton, Dubilier & Rice Fund VIII, L.P. and (b) Green Equity

Investors IV, L.P.




1    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
     are: David’s Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc.
     (3096). The location of the Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken,
     Pennsylvania 19428.
              Case 18-12634-LSS        Doc 1    Filed 11/19/18     Page 19 of 23



                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

DB INVESTORS, INC.,                                            Case No. 18-_____ (___)

                             Debtor.                           Joint Administration Requested


                         LIST OF EQUITY SECURITY HOLDERS


Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, attached hereto as
Appendix 1 is a list of entities holding an equity security interest in DB Investors, Inc.
                  Case 18-12634-LSS           Doc 1      Filed 11/19/18       Page 20 of 23



                                                 Appendix 1

                                      List of Equity Security Holders1

            Equity Holder                    Address of Equity Holder            Interest        Amount
Clayton, Dubilier & Rice Fund VIII,     c/o Clayton, Dubilier & Rice, LLC     Common Stock        2,350,000
L.P.                                    375 Park Ave., #18
CD&R Advisor Fund VIII Co-              New York, NY 10152
Investor, L.P.
CD&R Friends and Family Fund,
L.P.
DBI Coinvest LLC                        c/o Leonard Green & Partners, L.P.    Common Stock         800,000
                                        11111 Santa Monica Blvd., Ste. 2000
Green Equity Investors IV, L.P          Los Angeles, CA 90025
Jacqualin Athay                         4130 E Roma Ave.                      Common Stock             200
                                        Phoenix, AZ 85018                     Vested Options         1,800
                                                                              Unvested Options       1,600
Elio Auletta                            15 Kenwood Ridge                      Vested Options         2,000
                                        Kenley, UK
                                        CR8 5JW Great Britain                 Unvested Options       3,000
Elita Baram                             316 Admirals Way                      Vested Options           480
                                        Philadelphia, PA 19146                Unvested Options         720
Holly Carroll                           629 Crestwood Dr.                     Vested Options           560
                                        Telford, PA 18969                     Unvested Options         840
Anthony Coccerino                       2503 Skyview Ave.                     Common Stock             950
                                        Feasterville, PA 19053                Restricted Stock         300
                                                                              Vested Options         3,080
                                                                              Unvested Options       1,320
Lori Conley                             475 Barbin St.                        Vested Options           500
                                        Horsham, PA 19044                     Unvested Options         750
Robert Cooper                           630 Bellaire Ave.                     Vested Options           550
                                        Ambler, PA 19002                      Unvested Options         825
Elizabeth Crystal                       231 Iron Works Way                    Unvested Options      12,000
                                        Wayne, PA 19087
Heather D’Agosta                        104 Stockton Rd.                      Vested Options           550
                                        Bryn Mawr, PA 19010                   Unvested Options         825
Scott Dickson                           30 Rolling Glen Ct.                   Vested Options           400
                                        Mount Laurel, NJ 08054                Unvested Options         600
Dreama Dillion                          470 Caldwell Ln.                      Vested Options           600
                                        Horsham, PA 19044                     Unvested Options         900
Molly Dunn-Binder                       157 Patriot Ln.                       Vested Options         1,500
                                        Downingtown, PA 19335                 Unvested Options       1,500



1   As of November 9, 2018
                  Case 18-12634-LSS   Doc 1       Filed 11/19/18   Page 21 of 23



          Equity Holder              Address of Equity Holder          Interest       Amount
Cheryl Franceschini             315 Bunker Hill Dr.                Vested Options        1,960
                                McMurray, PA 15317                 Unvested Options      2,440
Courtney Graybill               1 Academy Circle, Unit 311         Vested Options        1,920
                                Philadelphia, PA 19146             Unvested Options      3,380
Scott Griffith                  1101 E. Hector St., Apt. 355       Vested Options        1,400
                                Conshohocken, PA 19428-2455        Unvested Options      2,100
Michael Griggs                  2274 Garrison St.                  Common Stock            234
                                Brookhaven, GA 30319               Vested Options        2,534
                                                                   Unvested Options      2,834
Cynthia Harriss                 1018 Marine Dr.                    Common Stock          2,000
                                Laguna Beach, CA 92651             Vested Options       14,027
                                                                   Unvested Options     19,373
Joan Hilson                     1101 E Hector St., Unit 429        Common Stock          6,250
                                Conshohocken, PA 19428-2455        Restricted Stock      1,800
                                                                   Vested Options       20,660
                                                                   Unvested Options     12,665
Christopher Hoover              6330 East Valley Green Rd.         Vested Options          500
                                Flourtown, PA 19031                Unvested Options        750
William Joyce                   146 Celler Ave.                    Vested Options          400
                                New Hyde Park, NY 11040            Unvested Options        600
Lori Kinkade                    #2 Hickory Ln.                     Common Stock            200
                                Malvern, PA 19355                  Vested Options        1,800
                                                                   Unvested Options      2,100
Pamela Kraus                    1350 Cinnamon Dr.                  Vested Options          600
                                Fort Washington, PA 19034          Unvested Options        900
Dan Kulchinsky                  619 Schiller Ave.                  Vested Options          400
                                Merion Station, PA 19066           Unvested Options        600
Richard McGrath                 4747 Sheldon St.                   Vested Options        1,800
                                Philadelphia, PA 19127             Unvested Options      2,700
Christina Monkman               39 Victoria Dr.                    Vested Options          400
                                Aston, PA 19014                    Unvested Options        600
Mary Raddant                    104 Alder Springs Ln.              Vested Options          550
                                Mooresville, NC 28117              Unvested Options        825
Daniel Rentillo                 224 Riverside Dr., #5A             Vested Options          250
                                New York, NY 10025                 Unvested Options      1,000




                                               2
                 Case 18-12634-LSS   Doc 1     Filed 11/19/18   Page 22 of 23



          Equity Holder             Address of Equity Holder        Interest       Amount
Cynthia Richardson             124 Myrtle Ave.                  Vested Options         580
                               Havertown, PA 19083              Unvested Options        870
Sheila Sciocchetti             125 Paoli Pike                   Vested Options          700
                               Malvern, PA 19355                Unvested Options      1,050
Gary Walker                    650 Broadmoor Dr.                Common Stock          3,500
                               Blue Bell, PA 19422              Restricted Stock      1,100
                                                                Vested Options       12,450
                                                                Unvested Options      2,900
Jillian Haney                  828 Ellsworth St.                Vested Options          550
                               Philadelphia, PA 19147           Unvested Options        825
Jennifer Zappacosta            2 Allison Dr.                    Vested Options          200
                               Coatesville, PA 19320            Unvested Options        800




                                              3
                                    Case 18-12634-LSS                        Doc 1        Filed 11/19/18            Page 23 of 23




 Fill in this information to identify the case:

 Debtor name         DB Investors, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration     Consolidated List of 30 Largest Unsecured Claims
                                                                           Corporate Ownership Statement
                                                                           List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           11/19/2018                             X /s/ Joan Hilson
                                                                       Signature of individual signing on behalf of debtor

                                                                       Joan Hilson
                                                                       Printed name

                                                                       Executive Vice President and Chief Financial and Operating Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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